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                                                         U.S. Department of Justice

                                                         Matthew M. Graves
                                                         United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                       November 8, 2021

Via Email
Steven Kiersh
Counsel for John Earle Sullivan
5335 Wisconsin Avenue, N.W., Suite 440
Washington, D.C. 20015
skiersh@aol.com

       Re:      United States v. John Earle Sullivan
                Case No. 1:21-cr-00078-EGS

Dear Counsel:

        The enclosed letter memorializes the provision of the following additional discovery in
this case, via filesharing:

             1. MARKED HIGHLY SENSITIVE: Additional CCTV footage of defendant
                (11 files)
             2. Updated JP Morgan Chase subpoena production (1 file)
             3. D-14 open-source interviews relating to defendant (2 files)
             4. MARKED SENSITIVE: Interviews of Officers by Statuary Hall
                Connector (three 302s, 1 transcript with associated audio and exhibits)

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is being provided pursuant to the Protective Order issued in this case.
Please adhere to sensitivity markings.

       I will forward additional discovery as it becomes available. If you have any questions,
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please feel free to contact me.

                                            Sincerely,




                                            _______________________
                                            Candice C. Wong
                                            Assistant United States Attorney
                                            202-252-7849
                                            Candice.wong@usdoj.gov




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